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EXHIBIT B

Summary of Insider Compensation Programs

Prepetition Potential
Program Name Program Description ee a Performance Metrics ee one Remainder of 2014
Participants to be Paid by the Cost
Debtors
Company and individual performance
2014 Executive Incentive program for senior employees with metrics $7.93 million
Annual Incentive target payments for participants based on 26 employees $0 +t tarcet)2
Plan! achievement of certain performance metrics See Filsinger Declaration at (at target)
Table 1-4.
Company and individual performance
2014 Key Leader Incentive program with target payments based on metrics 5 cays
Performance the achievement of certain performance metrics 19 employees $0 $2.56 million (at target)
Program over quarterly period See Filsinger Declaration at
Table 1-4.
2014 Luminant Incentive program based on the aggregate Payments contingent on achievement
Commercial incremental value that Luminant achieves on all One employee | of incremental value by Luminant on $0 (2013 actual cost)
Incentive Plan commercial trading transactions for that year commercial trading transactions “
Incentive program for SPC members with target company and individual performance
SPC Long-Term payments for participants based on achievement of Two . a
Incentive Plan? certain performance metrics over multi-year employees* a (inclusive of

periods

See Filsinger Declaration at
Table 1-4.

of prepetition amounts)

The Debtors also seek approval of the Annual Incentive Plan for a single employee who may be an insider because the employee is married to a member of senior management The employee is included in the Executive

Annual Incentive Plan numbers, but participates only in the Annual Incentive Plan Those two plans have basically identical terms, and the amounts for the Executive Annual Incentive Plan set forth in this table include the
employee’s potential AIP award

2 If the Debtors satisfy the “superior” targets under each applicable metric contained in the EAIP (i.e., the highest possible targets), the maximum amount payable under the 2014 Executive Annual Incentive Plan would be

$15,861,322

Amounts not funded by letters of credit

There are two participants in the SPC LTIP with potential payments that are not funded by letters of credit Including those two participants, there are seven total participants in the SPC LTIP

